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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,
                                                           CR 22-462-TUC-JGZ (LAB)
10                  Plaintiff,
                                                              ORDER
11   v.                                                CONTINUING PLEA DEADLINE
                                                             AND TRIAL
12
     Brian Tackett,
13
                    Defendant.
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            This case is presently set for trial on May 17, 2022. The Defendant filed a motion
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     to continue and, for the reasons set forth therein, additional time is required to adequately
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     prepare for trial. The Government has no objection to a continuance.
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            The Court finds that the ends of justice served by continuing this case outweigh the
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     best interests of the public and the defendant in a speedy trial.
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            IT IS ORDERED as follows:
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            1. The date by which the referred magistrate judge hears the change of plea must
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     be no later than June 3, 2022, by 3:00 p.m.
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            2. All motions, unless made during a hearing or trial, shall be in writing and shall
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     be made sufficiently in advance of trial to comply with the time periods set forth in
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     LR Civ. 7.2 and any court order and to avoid any delays in the trial. Pretrial motions may
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     be heard before a magistrate judge and a Report and Recommendation will be provided to
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     the district judge assigned to the case.
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 1          3. This matter is RESET for trial on June 22, 2022, at 9:30 a.m. Counsel are to
 2   be present at 9:00 a.m.
 3          4. Excludable delay under 18 U.S.C. §3161(h)(7) is found to commence on
 4   May 18, 2022, and end on June 22, 2022. Such time shall be in addition to other excludable
 5   time under the Speedy Trial Act and shall commence as of the day following the day that
 6   would otherwise be the last day for commencement of trial.
 7          5. Any and all subpoenas previously issued shall remain in full force and
 8   effect through the new trial date.
 9          6. Any motion or stipulation to continue the scheduled trial date and change
10   of plea deadline shall be filed with the Clerk of Court no later than 5:00 p.m.,
11   Monday, June 6, 2022. Alternatively, by that same deadline, if after consultation
12   between government and defense counsel it is determined that a motion to continue
13   the scheduled trial date and change of plea deadline will not be filed, government
14   counsel shall notify the Court by an email to the chambers email address that the
15   case and counsel are ready to proceed to trial on the scheduled trial date. The
16   notification shall also include the estimated number of trial days needed to complete
17   the trial.
18          Dated this 2nd day of May, 2022.
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